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7                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
8                                          AT SEATTLE
9    GARY AND SUSAN CARLSON,                                            Case No.___________________
10                                  Plaintiffs,
                                                                              NOTICE OF REMOVAL
11            vs.
12   AMERICAN PACIFIC MORTGAGE
     CORPORATION, a California corporation and
13   JOHN DOES I-IV,
14                                   Defendants.
15

16   THE CLERK OF THE ABOVE-ENTITLED COURT:

17            PLEASE TAKE NOTICE THAT defendant American Pacific Mortgage Corporation

18   (“Defendant”), by and through undersigned counsel, hereby submits this Notice of Removal of a

19   Civil Action for the above-captioned action originally filed in the Superior Court of the State of

20   Washington for the County of King, case number 14-2-10256-9 SEA to this Court pursuant to 28

21   U.S.C. §§ 1441 and 1446. This removal is based on the following grounds:

22            1.      Complaint Filed on or about April 3, 2014. Plaintiff commenced this civil action on

23   or about April 3, 2014 by filing a Complaint in the Superior Court of Washington for King County,

24   captioned Gary and Susan Carlson v. American Pacific Mortgage Corporation, et.al.., Case No. 14-

25   2-10256-9 SEA. Defendant filed a timely Answer to the Complaint.

26   Page 1 - NOTICE OF REMOVAL                                           LINDSAY HART, LLP
                                                                   1300 SW FIFTH AVENUE, SUITE 3400
     {00835687}
                                                                    PORTLAND, OREGON 97201-5640
                                                                  PHONE: 503-226-7677 FAX: 503-226-7697
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 1            2.      First Amended Complaint Filed on or about July 16, 2014. Plaintiff requested, and

2    was granted leave, to file a First Amended Complaint. Plaintiff filed the First Amended Complaint

3    on July 16, 2014 which added a claim for relief under federal law. A true and correct copy of the

4    First Amended Complaint is attached hereto as Exhibit A.

5             3.      Defendant APMC filed an Answer to the initial Complaint, but is unaware of any

6    other documents on file with the Superior Court of Washington in King County in this action.

7             4.      Removal Timely. This Notice of Removal is timely filed within 30 days of service

8    of the First Amended Complaint upon Defendant. See 28 U.S.C. § 1446(b)(3). Defendant has filed

9    a notice of this Notice of Removal with the Superior Court of Washington in King County which is

10   attached hereto as Exhibit B. No further proceedings have been had in the state court action, and

11   the time within which Defendant may file a notice of removal has not expired pursuant to 28 U.S.C.

12   §1446(b).

13            5.      The action was pending in Superior Court of Washington in King County, which

14   court is in the territory of the United States Western District of Washington at Seattle.

15            6.      Jurisdiction of Federal Question. The Court has original jurisdiction over this civil

16   action pursuant to 28 U.S.C. § 1331, since Plaintiff’s First Amended Complaint alleges Defendant

17   violated federal law, 12 U.S.C. § 5567. See Exhibit A, Complaint, ¶ 13.

18            7.      Defendant APMC reserves all defenses including but not limited to, any

19   counterclaims, set offs, federal preemption, choice of law, improper venue, and those under Rule

20   12(b) of the Federal Rules of Civil Procedure and does not waive said defenses by the filing of this

21   Notice of Removal.

22            WHEREFORE, Defendant APMC prays that plaintiff’s state court action now pending in

23   the Superior Court of Washington in King County, case 14-2-10256-9 SEA, be hereby removed to

24   this court; that this court accept jurisdiction thereof; that said action be placed henceforth on the

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26   Page 2 - NOTICE OF REMOVAL                                             LINDSAY HART, LLP
                                                                     1300 SW FIFTH AVENUE, SUITE 3400
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 1   docket of this court for further proceedings, the same as though original instituted in this court; and

2    for such other and further orders as may be just and proper.

3             DATED this 28th day of July, 2014.

4                                                           LINDSAY HART, LLP
5

6                                                                   s/ Tyson L. Calvert
                                                            By:_____________________________
7                                                           Tyson L. Calvert, WSBA No. 38908
                                                            tcalvert@lindsayhart.com
8                                                           Elizabeth A. Biermann, WSBA No. 39530
                                                            ebiermann@lindsayhart.com
9                                                           Attorneys for Defendant American Pacific
                                                            Mortgage Corporation
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     {00835687}
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